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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                          *
                                                  *
                                   v.             * Criminal No. JKB-23-278
                                                 *
    CHRISTOPHER BENDANN,                         *
                                                 *
                  Defendant.                     *
                                                  *
                                              *******

                                  ENTRY OF APPEARANCE

       Please enter the appearance of Anatoly Smolkin , Assistant United States Attorney

for the District of Maryland, as counsel on behalf of the United States.



                                              Respectfully submitted,

                                              Erek L. Barron
                                              United States Attorney


                                        By:           /s/
                                              Anatoly Smolkin
                                              Assistant United States Attorney
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